                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                    CASE NO. 3:22-CR-273-KDB-DCK **SEALED**

 UNITED STATES OF AMERICA,                              )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )       ORDER
                                                        )
 CODY VENSON INMAN,                                     )
                                                        )
                 Defendant.                             )
                                                        )

         THIS MATTER IS BEFORE THE COURT on Defendant’s counsel’s “Motion To Seal”

(Document No. 12) filed on December 12, 2022. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, the undersigned will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

“Motions to seal a particular [criminal] pleading or any portion thereof and orders disposing of

such motions are governed by the requirements for sealing provided by LCvR 6.1, incorporated

herein by reference.” LCrR 49.1.1 (a).

         Local Civil Rule(“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision-making. As used in this
                Rule, “materials” includes pleadings and documents of any nature
                and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal




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               except by Court order, pursuant to a statute, or in accordance with a
               previously entered Rule 26(e) protective order.

               (c)     Motion to Seal or Otherwise Restrict Public Access. A
               party’s request to file materials under seal must be made by formal
               motion, separate from the motion or other pleading sought to be
               sealed, pursuant to LCvR 7.1. Such motion must be filed
               electronically under the designation “Motion to Seal.” The motion
               must set forth:

                       (1)     A non-confidential description of the
                       material sought to be sealed;
                       (2)     A statement indicating why sealing is
                       necessary and why there are no alternatives to filing
                       under seal;
                       (3)     Unless permanent sealing is sought, a
                       statement indicating how long the party seeks to have
                       the material maintained under seal and how the
                       matter is to be handled upon unsealing; and
                       (4)     Supporting statutes, case law, or other
                       authority.
LCvR 6.1.

       By the instant motion, Defendant’s counsel, W. Kelly Johnson seeks to file a “Motion To

Withdraw As Counsel” (Document No. 13) under seal. (Document No. 12). W. Kelly Johnson

contends that this filing includes sensitive information that should be sealed. Id.

       Having considered LCvR 6.1(c) and LCrR 49.1.1, and the record of this case, the Court

will allow the motion. Noting that the time for public response has not run to this motion, the

Court will consider any objection to this Order from non-parties as an objection to the motion,

requiring no additional burden for any non-party under the Federal Rules of Civil Procedure. See

LCvR 6.1(e).

       IT IS, THEREFORE, ORDERED that Defendant’s counsel’s “Motion To Seal”

(Document No. 12) is GRANTED. Document Nos 12 and 13 shall remain under SEAL until

otherwise ordered by this Court.




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  SO ORDERED.




                 Signed: December 12, 2022




                 SEALED DOCUMENT with access to All Parties/Defendants.




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